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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION


 SCOTT BARR, DDS, on behalf of itself          )
 and others similarly situated,                )
                                               )      CASE NO. 0:13-cv-61982-JIC
       Plaintiff,                              )
                                               )
 v.                                            )
                                               )
 FUTUREDONTICS, INC.,                          )
 a California corporation,                     )
                                               )
       Defendant.                              )

                                  NOTICE OF SETTLEMENT

        Plaintiff, Scott Barr, DDS, hereby notifies this Court that a settlement has been reached

 between the Parties as to Plaintiff’s individual claims, pending final execution of settlement

 documents and releases. The Parties expect to file a stipulation of dismissal within the next

 fourteen (14) days.


                                             Respectfully submitted,

                                             /s/ Scott D. Owens
                                             Scott D. Owens, Esq.
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                                             Hollywood, FL 33019
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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on January 19, 2015, I electronically filed the foregoing
 document with the Clerk of the Court using CM/ECF. I also certify that the foregoing
 document is being served this date via U.S. mail and/or some other authorized manner for
 those counsel or parties below, if any, who are not authorized to receive electronically Notices
 of Electronic Filing.



                                             By: /s/ Scott D. Owens
                                                Scott D. Owens, Esq.
